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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-00552
v. : MAGISTRATE NO. 21-MJ-448
KENNETH JOSEPH OWEN THOMAS, : VIOLATIONS:
>: =©18 U.S.C. § 231(a)GB)
Defendant. : (Civil Disorder)

18 U.S.C. § 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

SECOND SUPERSEDING INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
OWEN THOMAS, committed and attempted to commit an act to obstruct, impede, and interfere

with law enforcement officer, that is, Officers R.A., M.N., S.A., K.V., and R.N., officers lawfully
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engaged in the lawful performance of their official duties incident to and during the
commission of a civil disorder which in any way and degree obstructed, delayed, and
adversely affected commerce and the movement of any article and commodity in commerce

and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, KENNETH
JOSEPH OWEN THOMAS, attempted to, and did, corruptly obstruct, influence, and impede an
official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of
the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
OWEN THOMAS, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, R.A, an officer from the Metropolitan Police Department, while such officer or
employee was engaged in or on account of the performance of official duties, and where the acts
in violation of this section involve physical contact with the victim and the intent to commit another

felony.
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(Assaulting, Resisting, or Impeding Certain Officers in violation of Title 18, United
States Code, Section 111(a)(1))
COUNT FOUR

On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
OWEN THOMAS, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, M.N., an officer from the Metropolitan Police Department, while such officer
or employee was engaged in or on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
OWEN THOMAS, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, S.A., an officer from the Prince George’s County Police Department, while such
officer or employee was engaged in or on account of the performance of official duties, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT SIX

On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
OWEN THOMAS, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, K.V., an officer from the Metropolitan Police Department, while such officer or
employee was engaged in or on account of the performance of official duties, and where the acts
in violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
OWEN THOMAS, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, R.N., an officer from the Metropolitan Police Department, while such officer or
employee was engaged in or on account of the performance of official duties, and where the acts
in violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT EIGHT

On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
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OWEN THOMAS, did knowingly enter and remain in a restricted building and grounds, that is,
any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where’ the Vice President was and would be temporarily visiting, without lawful
authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT NINE

On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
OWEN THOMAS, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, KENNETH
JOSEPH OWEN THOMAS, did knowingly engage in any act of physical violence against any
person and property in a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))
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COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
OWEN THOMAS, willfully and knowingly engaged in disorderly and disruptive conduct within
the United States Capitol Grounds with the intent to impede, disrupt, and disturb the orderly
conduct of a session of Congress and either House of Congress, and the orderly conduct in that
building of a hearing before or any deliberation of, a committee of Congress or either House of
Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, KENNETH JOSEPH
OWEN THOMAS, willfully and knowingly engaged in an act of physical violence within the
United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
